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  12

  13                        UNITED STATES DISTRICT COURT
  14          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  15

  16    Universal City Studios Productions     Case No. 2:17-cv-07496
        LLLP; Columbia Pictures Industries,
  17    Inc.; Disney Enterprises, Inc.;        JEFFREY GOLDSTEIN’S ANSWER
        Twentieth Century Fox Film             TO FIRST AMENDED COMPLAINT
  18    Corporation; Paramount Pictures
        Corporation; Warner Bros.
  19    Entertainment Inc.; Amazon Content
        Services, LLC; Netflix Studios, LLC,
  20
                       Plaintiffs,
  21
              v.
  22
        TickBox TV LLC,
  23
                       Defendant.
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                     JEFFREY GOLDSTEIN’S ANSWER TO FIRST AMENDED COMPLAINT
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   1         Comes now Jeffrey Goldstein (“J. Goldstein”) and asserts his affirmative
   2   defenses and answers each and every paragraph of Plaintiff’s First Amended
   3   Complaint as follows:
   4         1.     J. Goldstein denies that TickBox currently distributes and sells a
   5   hardware device. Any advertising, promotional or website material related to the
   6   marketing and sale of TickBox’s products is the highest and best evidence of its
   7   content and will speak for itself. J. Goldstein denies the remaining allegations of
   8   Paragraph 1 of the First Amended Complaint.
   9         2.     J. Goldstein denies Paragraph 2 of the First Amended Complaint.
  10         3.     J. Goldstein denies Paragraph 3 of the First Amended Complaint.
  11         4.     J. Goldstein is without sufficient knowledge or information upon which
  12   to form a belief of the truth or accuracy of the allegation contained in Paragraph 4 of
  13   the First Amended Complaint.
  14         5.     J. Goldstein is without sufficient knowledge or information upon which
  15   to form a belief of the truth or accuracy of the allegation contained in Paragraph 5 of
  16   the First Amended Complaint.
  17         6.     J. Goldstein is without sufficient knowledge or information upon which
  18   to form a belief of the truth or accuracy of the allegation contained in Paragraph 6 of
  19   the First Amended Complaint.
  20         7.     J. Goldstein is without sufficient knowledge or information upon which
  21   to form a belief of the truth or accuracy of the allegation contained in Paragraph 7 of
  22   the First Amended Complaint.
  23         8.     J. Goldstein is without sufficient knowledge or information upon which
  24   to form a belief of the truth or accuracy of the allegation contained in Paragraph 8 of
  25   the First Amended Complaint.
  26         9.     J. Goldstein is without sufficient knowledge or information upon which
  27   to form a belief of the truth or accuracy of the allegation contained in Paragraph 9 of
  28   the First Amended Complaint.
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                      JEFFREY GOLDSTEIN’S ANSWER TO FIRST AMENDED COMPLAINT
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   1         10.     J. Goldstein is without sufficient knowledge or information upon which
   2   to form a belief of the truth or accuracy of the allegation contained in Paragraph 10
   3   of the First Amended Complaint.
   4         11.     J. Goldstein is without sufficient knowledge or information upon which
   5   to form a belief of the truth or accuracy of the allegation contained in Paragraph 11
   6   of the First Amended Complaint.
   7         12.     J. Goldstein is without sufficient knowledge or information upon which
   8   to form a belief of the truth or accuracy of the allegation contained in Paragraph 12
   9   of the First Amended Complaint.
  10         13.     J. Goldstein denies TickBox is a corporation duly incorporated under
  11   the laws of the State of Georgia. TickBox is a limited liability company organized
  12   under the laws of the State of Georgia. J. Goldstein otherwise admits the allegations
  13   in Paragraph 13 of the First Amended Complaint.
  14         14.     J. Goldstein admits Paragraph 14 of the First Amended Complaint.
  15         15.     J. Goldstein admits that Carrla Goldstein is the 100% owner of TickBox,
  16   and that she is a resident of Atlanta, Georgia. J. Goldstein denies the remaining
  17   allegations in Paragraph 15 of the First Amended Complaint.
  18         16.     The allegations of Paragraph 16 of the First Amended Complaint is a
  19   statement of law and/or Plaintiff’s legal position to which no response is required by
  20   this Defendant.
  21         17.     J. Goldstein denies the allegations of Paragraph 17 of the First Amended
  22   Complaint as they relate to J. Goldstein and C. Goldstein. J. Goldstein admits that
  23   TickBox currently operates a website (www.tickboxtv.com), which is available to
  24   California residents. Tickbox denies that TickBox currently conducts online sales,
  25   offers “live chat” technical support, or promotes the TickBox TV device on such
  26   website. The remaining allegations inParagraph 17 of the First Amended Complaint
  27   are denied.
  28         18.     J. Goldstein denies the allegations of Paragraph 17 of the First Amended
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                       JEFFREY GOLDSTEIN’S ANSWER TO FIRST AMENDED COMPLAINT
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   1   Complaint as they relate to J. Goldstein and C. Goldstein. J. Goldstein denies that
   2   TickBox currently sells and ships TickBox TV devices to California residents or
   3   provides ongoing technical support to California residents or manages TickBox TV
   4   units remotely by facilitating automatic software updates to TickBox TV customers
   5   who reside in California. J. Goldstein denies that TickBox currently advertises and
   6   promotes TickBox TV to potential customers in California.             The remaining
   7   allegations in Paragraph 18 of the First Amended Complaint are denied.
   8          19.    J. Goldstein denies the allegations of Paragraph 19 of the First Amended
   9   Complaint and affirmatively states that the content of TickBox’s online advertising
  10   and website at any given time is the highest and best evidence of its content and will
  11   speak for itself.
  12          20.    The allegations of Paragraph 20 of the First Amended Complaint is a
  13   statement of law and/or Plaintiff’s legal position and no response is required of this
  14   Defendant. To the extent further response is required of this Paragraph the allegations
  15   are denied.
  16          21.    J. Goldstein is without sufficient knowledge or information upon which
  17   to form a belief as to the truth or accuracy of the allegations contained in Paragraph
  18   21 of the First Amended Complaint. Moreover, the allegations are not those in effect
  19   but are self-serving promotional statements of the Plaintiff.
  20          22.    J. Goldstein is without sufficient knowledge or information upon which
  21   to form a belief as to the truth or accuracy of the allegations contained in Paragraph
  22   22 of the First Amended Complaint. To the extent any further response is required of
  23   this Paragraph the allegations are denied.
  24          23.    J. Goldstein is without sufficient knowledge or information upon which
  25   to form a belief as to the truth or accuracy of the allegations contained in Paragraph
  26   23 of the First Amended Complaint. To the extent any further response is required of
  27   this Paragraph the allegations are denied.
  28          24.    J. Goldstein is without sufficient knowledge or information upon which
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                       JEFFREY GOLDSTEIN’S ANSWER TO FIRST AMENDED COMPLAINT
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   1   to form a belief as to the truth or accuracy of the allegations contained in Paragraph
   2   24 of the First Amended Complaint. To the extent any further response is required of
   3   this Paragraph the allegations are denied.
   4         25.    J. Goldstein is without sufficient knowledge or information upon which
   5   to form a belief as to the truth or accuracy of the allegations concerning alleged third
   6   party sites to which Tickbox TV links or TickBox customers have access. J.
   7   Goldstein admits that Defendants have no contracts with any of the Plaintiffs to
   8   exercise Plaintiffs’ rights under the Copyright Act. To the extent a response is
   9   required of this Paragraph the allegations are denied.
  10         26.    J. Goldstein denies Paragraph 26 of the First Amended Complaint as it
  11   relates to Jeffrey Goldstein and Carrla Goldstein. J. Goldstein admits that the
  12   screenshot included in Paragraph 26 of the First Amended Complaint was a true and
  13   accurate copy of a screenshot of a page of the TickBox website at the time and that
  14   such a page is the highest and best evidence of its content and will speak for itself
  15   with respect to any allegations concerning the installation or use of TickBox TV. J.
  16   Goldstein otherwise admits the allegations in Paragraph 26 of the First Amended
  17   Complaint.
  18         27.    J. Goldstein denies Paragraph 27 of the First Amended Complaint as it
  19   relates to Jeffrey Goldstein and Carrla Goldstein.       J. Goldstein further denies that
  20   TickBox currently markets the TickBox TV device. TickBox’s historical marketing
  21   and promotional materials are the highest and best evidence of their content and
  22   speak for themselves. To the extent a further response is required of this Paragraph
  23   the allegations are denied.
  24         28.    J. Goldstein admits Paragraph 28 of the First Amended Complaint.
  25         29.    J. Goldstein denies Paragraph 29 of the First Amended Complaint.
  26         30.    J. Goldstein denies Paragraph 30 of the First Amended Complaint as
  27   pled insofar as he has no information or knowledge concerning any “customer’s
  28   perspective”. The manner in which the TickBox products operated at the time this
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                      JEFFREY GOLDSTEIN’S ANSWER TO FIRST AMENDED COMPLAINT
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   1   lawsuit was filed shall speak for itself as well as any information or materials
   2   contained on any software included therein.
   3         31.    To the extent Paragraph 31 is an allegation of “the customer’s
   4   perspective” as referenced in Paragraph 30 of the First Amended Complaint, J.
   5   Goldstein denies Paragraph 31 of the First Amended Complaint as pled insofar as he
   6   has no information or knowledge concerning any “customer’s perspective”. The
   7   manner in which the TickBox products operated at the time this lawsuit was filed
   8   shall speak for itself as well as any information or materials contained on any
   9   software included therein. To the extent further response is required, denied.
  10         32.    To the extent Paragraph 32 is an allegation of “the customer’s
  11   perspective” as referenced in Paragraph 30 of the First Amended Complaint, J.
  12   Goldstein denies Paragraph 32 of the First Amended Complaint as pled insofar as he
  13   has no information or knowledge concerning any “customer’s perspective”. The
  14   manner in which the TickBox products operated at the time this lawsuit was filed
  15   shall speak for itself as well as any information or materials contained on any
  16   software included therein. To the extent further response is required, denied.
  17         33.    To the extent Paragraph 33 is an allegation of “the customer’s
  18   perspective” as referenced in Paragraph 30 of the First Amended Complaint, J.
  19   Goldstein denies Paragraph 33 of the First Amended Complaint as pled insofar as he
  20   has no information or knowledge concerning any “customer’s perspective”. The
  21   manner in which the TickBox products operated at the time this lawsuit was filed
  22   shall speak for itself as well as any information or materials contained on any
  23   software included therein. To the extent further response is required, denied.
  24         34.    To the extent Paragraph 34 is an allegation of “the customer’s
  25   perspective” as referenced in Paragraph 30 of the First Amended Complaint, J.
  26   Goldstein denies Paragraph 34 of the First Amended Complaint as pled insofar as he
  27   has no information or knowledge concerning any “customer’s perspective”. The
  28   manner in which the TickBox products operated at the time this lawsuit was filed
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                      JEFFREY GOLDSTEIN’S ANSWER TO FIRST AMENDED COMPLAINT
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   1   shall speak for itself as well as any information or materials contained on any
   2   software included therein. To the extent further response is required, denied.
   3         35.    To the extent Paragraph 35 is an allegation of “the customer’s
   4   perspective” as referenced in Paragraph 30 of the First Amended Complaint, J.
   5   Goldstein denies Paragraph 35 of the First Amended Complaint as pled insofar as he
   6   has no information or knowledge concerning any “customer’s perspective” or
   7   “popularity” of “Covenant”. The manner in which the TickBox products operate at
   8   the time this lawsuit was filed shall speak for itself as well as any information or
   9   materials contained on any software included therein. To the extent further response
  10   is required, denied.
  11         36.    J. Goldstein is without sufficient knowledge or information upon which
  12   to form a belief of the truth or accuracy of the allegations contained in Paragraph 36
  13   of the First Amended Complaint. . The manner in which the TickBox products
  14   operated at the time this lawsuit was filed shall speak for itself as well as any
  15   information or materials contained on any software included therein.
  16         37.    Defendant is without sufficient knowledge or information upon which
  17   to form a belief as to the truth or accuracy of the allegations concerning which movies
  18   had been authorized for a video-on-demand distribution, which were still being
  19   distributed exclusively to theaters and which are not authorized for in-home viewing
  20   by a video-on-demand distribution as of the date of the First Amended Complaint. In
  21   further response to Paragraph 37, J. Goldstein states that the contents of any page
  22   which may have been accessible on the TickBox device is the highest and best
  23   evidence of its content and will speak for itself. To the extent further response to this
  24   Paragraph is required the allegations are denied.
  25         38.    J. Goldstein is without sufficient knowledge or information upon which
  26   to form a belief as to the truth or accuracy of the allegations concerning what content
  27   had been authorized with respect to third-party “sources”. J. Goldstein states that the
  28   contents of any page which may have been accessible on the TickBox device is the
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                      JEFFREY GOLDSTEIN’S ANSWER TO FIRST AMENDED COMPLAINT
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   1   highest and best evidence of its content and will speak for itself. To the extent further
   2   response to this Paragraph is required the allegations are denied.
   3         39.    J. Goldstein is without sufficient knowledge or information upon which
   4   to form a belief as to the truth or accuracy of the allegations regarding “CAM” alleged
   5   in Paragraph 39 of the First Amended Complaint and otherwise denies the allegation
   6   in Paragraph 39.
   7         40.    J. Goldstein states that the contents of any page which may have been
   8   accessible on the TickBox device is the highest and best evidence of its content and
   9   will speak for itself. To the extent further response to this Paragraph is required the
  10   allegations are denied.
  11         41.    J. Goldstein denies Paragraph 41 of the First Amended Complaint.
  12         42.    J. Goldstein denies Paragraph 42 of the First Amended Complaint as it
  13   relates to Jeffrey Goldstein and Carrla Goldstein. J. Goldstein further denies that
  14   TickBox currently advertises the TickBox TV device. The content of TickBox’s
  15   historical promotional online and website information is the highest and best
  16   evidence of their content and shall speak for themselves. To the extent a further
  17   response is required of this Paragraph the allegations are denied.
  18         43.    J. Goldstein denies Paragraph 43 of the First Amended Complaint as it
  19   relates to Jeffrey Goldstein and Carrla Goldstein. J. Goldstein further denies that
  20   TickBox currently promotes the TickBox TV device. The content of TickBox’s
  21   historical promotional online and website information is the highest and best
  22   evidence of their content and shall speak for themselves. To the extent a further
  23   response is required of this Paragraph the allegations are denied.
  24         44.    J. Goldstein denies Paragraph 44 of the First Amended Complaint as it
  25   relates to Jeffrey Goldstein and Carrla Goldstein.     J. Goldstein further denies that
  26   TickBox currently markets the TickBox TV device. The content of TickBox’s
  27   historical promotional online and website information is the highest and best
  28   evidence of their content and shall speak for themselves. To the extent a further
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                      JEFFREY GOLDSTEIN’S ANSWER TO FIRST AMENDED COMPLAINT
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   1   response is required of this Paragraph the allegations are denied.
   2         45.    J. Goldstein denies Paragraph 45 of the First Amended Complaint. The
   3   content of TickBox’s historical promotional online and website information is the
   4   highest and best evidence of their content and shall speak for themselves. To the
   5   extent a further response is required of this Paragraph the allegations are denied.
   6         46.    J. Goldstein denies Paragraph 46 of the First Amended Complaint as it
   7   relates to Jeffrey Goldstein and Carrla Goldstein. J. Goldstein further denies that
   8   TickBox currently advertises the TickBox TV device. The content of TickBox’s
   9   historical promotional online and website information is the highest and best
  10   evidence of their content and shall speak for themselves. To the extent a further
  11   response is required of this Paragraph the allegations are denied.
  12         47.    J. Goldstein admits TickBox is a commercial venture and that
  13   TickBox’s revenues increase based upon increased sales. J. Goldstein otherwise
  14   denies the allegations in Paragraph 47 of the First Amended Complaint.
  15         48.    J. Goldstein denies the allegations in Paragraph 48 of the First Amended
  16   Complaint.
  17         49.    J. Goldstein denies Paragraph 49 of the First Amended Complaint as it
  18   relates to Carrla Goldstein. J. Goldstein admits that he, as CEO of TickBox, could
  19   direct certain changes to the TickBox TV interface, including the options available
  20   to customers via the “Select your Theme” menu and related menu options.
  21         50.    In response to Paragraph 50 of the First Amended Complaint, J.
  22   Goldstein restates and incorporates by reference herein his response to the Paragraphs
  23   1-49 of the First Amended Complaint with the same force and effect as if they had
  24   been restated herein.
  25         51.    J. Goldstein denies Paragraph 51 of the First Amended Complaint.
  26         52.    J. Goldstein denies Paragraph 52 of the First Amended Complaint.
  27         53.    J. Goldstein denies Paragraph 53 of the First Amended Complaint.
  28         54.    J. Goldstein denies Paragraph 54 of the First Amended Complaint.
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                      JEFFREY GOLDSTEIN’S ANSWER TO FIRST AMENDED COMPLAINT
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   1         55.    J. Goldstein denies Paragraph 55 of the First Amended Complaint.
   2         56.    J. Goldstein denies Paragraph 56 of the First Amended Complaint.
   3         57.    J. Goldstein denies Paragraph 57 of the First Amended Complaint.
   4         58.    J. Goldstein denies Paragraph 58 of the First Amended Complaint.
   5         59.    J. Goldstein denies Paragraph 59 of the First Amended Complaint.
   6         60.    In response to Paragraph 60 of the First Amended Complaint, J.
   7   Goldstein restates and incorporates by reference herein his response to the Paragraphs
   8   1-49 of the First Amended Complaint with the same force and effect as if they had
   9   been restated herein.
  10         61.    J. Goldstein denies Paragraph 61 of the First Amended Complaint.
  11         62.    J. Goldstein denies Paragraph 62 of the First Amended Complaint.
  12         63.    J. Goldstein denies Paragraph 63 of the First Amended Complaint.
  13         64.    J. Goldstein denies Paragraph 64 of the First Amended Complaint.
  14         65.    J. Goldstein denies Paragraph 65 of the First Amended Complaint.
  15         66.    J. Goldstein denies Paragraph 66 of the First Amended Complaint.
  16         67.    J. Goldstein denies Paragraph 67 of the First Amended Complaint.
  17         68.    J. Goldstein denies Paragraph 68 of the First Amended Complaint.
  18         69.    J. Goldstein denies Paragraph 69 of the First Amended Complaint.
  19         70.    Any allegation that is not heretofore expressly admitted is denied.
  20                      AFFIRMATIVE AND OTHER DEFENSES
  21         Defendant asserts the following defenses, whether affirmative or otherwise.
  22   Defendant reserves all further defenses that may now or in the future exist based on
  23   discovery and further factual investigation in the case.
  24         1.     The First Amended Complaint and each claim within it fail to allege
  25                facts sufficient to state a cause of action.
  26         2.     The lack of any volitional action by J. Goldstein relating to infringement
  27                bars liability of J. Goldstein.
  28         3.     J. Goldstein’s lack of culpable intent regarding alleged underlying
                                                      10
                      JEFFREY GOLDSTEIN’S ANSWER TO FIRST AMENDED COMPLAINT
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   1                infringements bars the claims against J. Goldstein.
   2         4.     The doctrine of unclean hands bars Plaintiff’s claims.
   3         5.     The doctrine of copyright misuse bars Plaintiff’s claims.
   4         6.     Plaintiff’s failure to mitigate damages bars Plaintiff’s claims.
   5         7.     Waiver and estoppel bar Plaintiff’s claims.
   6         8.     The safe harbors under 17 U.S.C. § 512 bar the relief against J. Goldstein
   7                that the Plaintiff seeks.
   8         9.     Plaintiff’s claims for statutory damages violate the First, Fifth, and
   9                Eighth Amendments to the United States Constitution.
  10         10.    J. Goldstein is immune from any liability under 47 U.S.C. § 230 of the
  11                Communications Decency Act.
  12         Wherefore, J. Goldstein demands judgment that Plaintiffs’ First Amended
  13   Complaint against him be dismissed with all costs to be cast against the Plaintiff.
  14   DATED: August 20, 2018.
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                                                witkow | baskin
                                                SCHREEDER, WHEELER & FLINT, LLP
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  18                                            By: John A. Christy
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                      JEFFREY GOLDSTEIN’S ANSWER TO FIRST AMENDED COMPLAINT
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   1                             DEMAND FOR JURY TRIAL
   2          Pursuant to Rule 38(b), Federal Rules of Civil Procedure and Local Rule 38-
   3    1, Defendant hereby demands a trial by jury.
   4   DATED: August 20, 2018
   5

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                                              witkow | baskin
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